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GARAUFIS, J.
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SCANLON, M.J.               INDICTMENT SEALING FORM                                     w L L.I 111



  Case name: United States v. Raniere et al.                                    20!8 APR 19 PH M 19

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  Reason tor Sealing:
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               The government intends on effeetuating the arrest of one ofthe named

               defendants in the coming day or two. The government seeks to seal the

               indictment to ensure that the defendant Allison Mack does not leam that she is

               under indictment and to prevent her from fleeing justice to avoid arrest and

               prosecution. Notably, the indictment has been returned well within the

               applicable statute of limitations and sealing is not requested simply to toll the

               statute.




  By:        ^ ^                                                   Date: April 19, 2018
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         Tanya Hajjar
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